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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DIS'I`RICT OF TENNESSEE

 

EASTERN DIVISION

MICHAEL PARKER and )
JANICE PARKER, )
)
Plaintiff, )
)

vs. ) No. 05-1065 T/An
)
RETROTECH INCORPORATED, )
)
Dei`endant. )

 

ORDER DENYING MOTION TO AMEND COMPLAINT

 

Before the Court is Plaintiff" s Motion to Amend Complaint filed on May 18, 2005.
Plaintiff failed to file a Certificate of Consultation as required by Local Rule 7.2(a)(l)(B) of the
Local Rules of the United States District Court for the Western District of Tennessee. Local
Rule 7.2(a)(l)(B) provides:

Consultation by Counsel. All motions, including discovery motions, but not
including motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be
accompanied by a certificate of counsel (With one copy) affirming that, after
consultation between the parties to the controversy, they are unable to reach an
accord as to all issues or that all other parties are in agreement With the action
requested by the motion. Failure to file an accompanying certificate of
consultation may be deemed good grounds for denying the motion.

The certificate must contain the names of participating counsel and the date and
manner of consultation The burden will be on counsel filing the motion to
initiate the conference upon giving reasonable notice of the time, place and
specific nature of the conference If an opposing counsel or party refuses to
cooperate in the conduct of a conference, counsel must file certificate to that
effect, setting out counsel’s efforts to comply With this rule.

This document entered on the docket sheet ln compliance

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Therefore, the motion is DENIED without prejudice Plaintiff is welcome to re~file the instant
l\/[otion after complying with the Local Rules.

IT IS SO ORDERED.

(-§%#-r @.J

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE IUDGE

QM¢ /‘/, 200)"'
DATEU '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case l:05-CV-01065 was distributed by faX, mail, or direct printing on
June 15, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

